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                         EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PAMELA WOLOSKY,                                 :       Civil Action No. 2:14-cv-00804-NBF
                                                :
                        Plaintiff,              :
vs.                                             :       JURY TRIAL DEMANDED
                                                :
TRINITY AREA SCHOOL DISTRICT,                   :
PAUL KASUNICH, AMY MCTIGHE,                     :
                                                :
                         Defendants.
                                                :

Defendant’s Reply to Plaintiffs’ Notice of Supplemental Authority in Support of Plaintiff’s
               Response in Opposition to Defendants’ Motion to Dismiss

       Defendants Trinity Area School District, Dr. Paul Kasunich, and Amy McTighe

(collectively, “Defendants”) by and through their attorneys, John Smart, Esquire and the law firm

of Andrews & Price, LLC file the following Reply to Plaintiff’s Notice of Supplemental

Authority in Support of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss

(“Notice”). Defendants incorporate the arguments raised in the Brief in Support of their Motion

to Dismiss pursuant to Fed.R.Civ.P. 12(b)(6) [Doc 7].

                                         ARGUMENT

                     The Cat’s Paw Theory is Inapplicable to Plaintiff’s Claims

       Plaintiff’s Notice raises a new theory of vicarious liability for Defendant Trinity Area

School District (“the District”) centered on the actions of Defendant Amy McTighe

(“McTighe”). The Notice does not appear to advance any new theories or authority to support the

aiding and abetting claim against McTighe. The Defendants maintain that binding Supreme

Court precedent in Vance v. Ball State University, 133 S.Ct. 2434 (2013) clearly defines the

limitation of liability for nonsupervisory employees, such as McTighe, who was merely a six-

month contract employee of the District. Therefore, as advocated in Defendants’ Motion to


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Dismiss, the claim against McTighe must be dismissed for failure to state a claim pursuant to

Fed.R.Civ.P. 12(b)(6).

       Plaintiff has consistently argued that McTighe was a supervisor and/or in a position of

authority over Wolosky. [Docs 14 and 15]. Plaintiff now contends that the actions of a non-

supervisory employee support a claim for vicarious “cat’s paw” liability against District. [Doc.

15]. Plaintiff contends that new authority supports this theory of liability. Id.

       The cat’s paw theory was first introduced by Judge Posner in Shager v. Upjohn Co., 913

F.2d 398, 405 (7th Cir. 1990) and was recently discussed by the United States District Court for

the Eastern District of Pennsylvania in Burlington v. News Corp., __F.Supp. 3d__, 2014 WL

5410062 (E.D. Pa. Oct. 24, 2014). This theory of liability is not new, and does not support

Plaintiff’s claims against McTighe or the District.

       Foremost, in the fourteen-year-old case of Shager v. Upjohn Co., the Judge Posner

opined about cat’s paw liability, providing that:

       [if an employee], acting within (even if at the same time abusing) his authority as
       district manager to evaluate and make recommendations concerning his
       subordinates, had procured [the Plaintiff’s] discharge because of his age . . . .
       [T]he district manager would have violated the [Age Discrimination in
       Employment Act], and his violation would be imputed to his [employer].

913 F.2d at 405.

       Several years after Shager, the United States Court of Appeals for the Third Circuit

acknowledged:

       Some courts have held that an innocent employer who relied on a biased
       subordinate may be liable for retaliation under Title VII or the CEPA. See, e.g.,
       [Estate of Roach v. TRW, Inc., 754 A.2d 544, 552 (2000)] (“the jury could have
       inferred from the evidence that in deciding to terminate plaintiff, [the employer]
       relied on a ‘tainted’ evaluation prepared by [his subordinate].”); see also Russell
       v. McKinney Hosp. Venture, 235 F.3d 219, 226 (5th Cir. 2000) (“If the employee
       can demonstrate that others had influence or leverage over the official


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         decisionmaker, ... it is proper to impute their discriminatory attitudes to the formal
         decisionmaker.”).

Caver v. City of Trenton, 420 F.3d 243, 257 (3d Cir. 2005).

         In the non-precedential case now relied on by Plaintiff, the court decided that an

employee’s bias may be attributed to an employer, whether or not the employee is a supervisor

or a subordinate. Burlington, 2014 WL 5410062, at *12. Thus, Burlington is not entirely new

authority on this issue, especially not in the Third Circuit. However, to the extent the case post-

dates the U.S. Supreme Court decisions in Staub v. Proctor Hosp., 131 S. Ct. 1186 (2011) and

Vance v. Ball State University, 133 S.Ct. 2434 (2013) such that this Court may deem it to be new

authority, the Defendants will address Plaintiff’s arguments accordingly.

         Foremost, cat’s paw theory of liability typically applies when a member of a protected

class is subjected to an adverse employment action by a decision maker, who is free of

discriminatory animus, but whose actions were influenced by a biased employee. Burlington,

2014 WL 5410062, at *6. The Burlington court found that an employee’s bias may be attributed

to an employer under certain conditions, whether or not the employee is a supervisor or a

subordinate. Burlington, 2014 WL 5410062, at *12. To be clear, the court did not hold that a

subordinate employee herself could be found liable. Id. at *1-*16.

         In Burlington, the court sought to predict how the Supreme Court of the United States

would address the issue of whether the acts of nonsupervisory coworkers, on a cat’s paw theory

of liability, could impute liability to an employer. Id. In its analysis, the court analyzed the

Supreme Court’s decisions in Staub, 131 S. Ct. at 1186 1 and Vance, 133 S.Ct. at 2434. Id.

         The Staub Court applied the principals of agency and tort law to conclude that a

supervisor’s unlawful discrimination was a proximate cause of the ultimate employment decision

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 In Burlington, the court found that the cat’s paw liability analysis in Staub applies to Title VII cases. Burlington,
2014 WL 5410062, at *8 (collecting cases).

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suffered by Plaintiff; and therefore, the employer was vicariously liable under the Uniformed

Services Employment and Reemployment Rights Act of 1994, 38 U.S. §§ 4301, et seq. The

Court wrote as dictum:

        We express no view as to whether the employer would be liable if a co-worker,
        rather than a supervisor, committed a discriminatory act that influenced the
        ultimate employment decision.

Staub, 131 S.Ct. at 1194 n. 4 (citations omitted).

        Thereafter “Vance answered the question of who qualifies as a ‘supervisor’ for purposes

of harassment claims under Title VII.” Burlington, 2014 WL 5410062, at *9. In Vance, the

Supreme Court affirmed, for purposes of vicarious liability under Title VII, an employee is a

supervisor if empowered to take tangible employment actions. Vance, 133 S.Ct. 2435.

        To reconcile Staub and Vance, 2 the Burlington court turned to the underpinnings of the

Supreme Court’s Title VII decisions and the Restatement (Second) of Agency. Burlington, 2014

WL 5410062, at *10-*11. The court concluded that employer liability is appropriate “on a cat’s

paw theory where a biased employee acts outside the scope of her employment and either (1) the

employer was negligent or reckless, or (2) the biased employee was aided in the accomplishment

of the tort by the existence of the agency relationship.” Id. at *12 (emphasis added) (citing

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 758-763 (1998)). The court concluded:

       This approach is consistent with Vance’s suggestion that an employer can delegate
       the power to take tangible employment actions to nonsupervisory employees so
       that the employer could be vicariously liable for the employees’ actions. Such
       delegation falls within the aided in the agency relationship exception of
       [Restatement] § 219(2)(d) so that it would be reasonable to hold the employer
       liable for the actions a nonsupervisory coworker to whom such authority is
       delegated.

Id. (emphasis added).

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 The holdings of Staub and Vance appeared to eliminate the availability of cat’s paw liability for employers whose
supervisors (without discriminatory animus) are influenced by non-decisionmaking employees (with discriminatory
animus) to make discriminatory decisions that lead to an adverse employment action.

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        Thus, it is clear that the Burlington court decided that an employee’s bias can be

attributed to an employer, whether or not the employee is a supervisor or a subordinate. The

court never concluded that the subordinate employee herself could be found liable. Furthermore,

the Court established specific requirements for holding an employer liable under this theory,

which Plaintiff has failed to allege.

        In the case at bar, not only did Plaintiff fail to allege sufficient facts to support that

McTighe was a supervisor, Plaintiff failed to allege that McTighe was biased or acted in a

discriminatory manner. See arguments raised in [Doc 7]. Plaintiff only alleged that McTighe

acted within the scope of her employment and took direction from then Superintendent Dr. Paul

Kasunich (“Dr. Kasunich”). Plaintiff acknowledged this fact in her Response to Defendants’

Motion to Dismiss [Doc 14]. Therefore, Plaintiff has not established the prima facie elements for

cat’s paw liability, namely that McTighe performed an act motivated by discriminatory animus

with an intent to cause an adverse employment action against Plaintiff, and which was the

proximate cause of the adverse action ultimately taken by a decision maker. See Burlington,

2014 WL 5410062, at *14-*15. Furthermore, Plaintiff has not alleged sufficient facts so support

that the District acted negligently by allowing McTighe to act in an alleged discriminatory

manner or that McTighe’s intended discriminatory actions were aided by the existence of her

relationship with the District. Id.

        Plaintiff specifically provided that that McTighe reported to Dr. Kasunich. See [Doc 14]

at p. 4 (citing Complaint at ¶¶ 12, 155, 191, 222, 232, 241). Plaintiff also alleged that McTighe

“assumed Dr. Wolosky’s responsibilities”, but only cited paragraphs of her Complaint alleging

that McTighe met and took direction from Dr. Kasunich. Id. (citing Complaint at ¶¶156, 239,

243, 247). Plaintiff also argued that McTighe made “suggestions,” which Plaintiff attempted to



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characterize as “orders that Dr. Wolosky was required to follow.” Id. (citing Complaint ¶255 and

attempting to insert new allegations outside of the Complaint via footnote 4).

       Despite Plaintiff and/or her attorney’s attempt to skew the facts raised in her own

Complaint, it is clear that Plaintiff did not adequately allege any plausible facts to support that

McTighe was a supervisor or harbored any discriminatory animus towards Plaintiff that

influenced a decisionmaker to take an adverse employment action against her. If anything,

Plaintiff has alleged that Dr. Kasunich influenced McTighe to take actions, which Plaintiff has

alleged were discriminatory. See Complaint [Doc. 1].

                                          CONCLUSION

       The facts pled by Plaintiff, even in light of her Notice of Supplemental Authority, fail to

allege plausible claims against McTighe, or a claim for vicarious liability on the part of the

District for the actions of McTighe. It is clear that McTighe was not Plaintiff’s supervisor and

did not have any ability to stop the alleged discriminatory actions taken by Superintendent Dr.

Kasunich, nor would this be sufficient under Burlington to support a theory of vicarious liability

against the District. Only the reverse would be true. According to Plaintiff, McTighe took

direction from Dr. Kasunich at all times relevant hereto. Furthermore, as six-month contract

employee, it is not plausible that McTighe engaged in conduct that furthered the District’s

discrimination and retaliation against Plaintiff. Plaintiff simply failed to allege plausible facts to

establish any supervisory authority or individual liability for McTighe. Therefore, Defendants’

Motion to Dismiss must be granted.




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                         Respectfully submitted,

                         ANDREWS & PRICE

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